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                                UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF KENTUCKY
                               CENTRAL DIVISION AT LEXINGTON

 UNITED STATES OF AMERICA,                          )
                                                    )        CRIMINAL NO. 5:13-52-KKC
                  Plaintiff,                        )
         v.                                         )
                                                    )        OPINION AND ORDER
 BASSAM ALFROUKH,                                   )
                                                    )
                  Defendant.                        )

                                              *******

         This matter is before the Court on the Defendant’s Motion to Revoke Detention Order

 and Set Bond (DE 119). For the following reasons, the Court will deny the motion.

         The Magistrate Judge issued extremely thorough findings and reasons in support of his

 order detaining the Defendant in the custody of the U.S. Marshal pending trial. The Court agrees

 with the Magistrate Judge’s opinion.

         The Defendant asserts that, after the detention hearing, the Defendant and his family

 canceled a planned 10-week trip to Palestine. Further, the Defendant notes he has surrendered his

 passport. Nevertheless, as the Magistrate Judge found, the Defendant has family in Palestine and

 has a history of travel and residence in other countries.

         As to the Magistrate Judge’s determination that the Defendant presents an unacceptable

 safety risk, the Defendant argues that most small business owners have handguns to protect their

 livelihood. The Magistrate Judge did not consider the presence of the gun alone, however, but

 considered it in combination with other relevant factors including the fact that the gun was in a

 locked closet with controlled substances, numerous controlled-substance prescriptions from a

 Tennessee pharmacy, and $30,000 cash. Further, the Magistrate Judge considered evidence that

 two informants had purchased Oxycodone from the Defendant at the store.
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        For these reasons, and those stated in the Magistrate Judge’s well-reasoned opinion, the

 Court hereby ORDERS that the Defendant’s Motion to Revoke Detention Order and Set Bond

 (DE 119) is DENIED.

        Dated this 17th day of June, 2013.
